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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 Haley Gustavson, individually and on behalf of
 all others similarly situated,

                               Plaintiff,
                                                          Civil Action No. 1:20-cv-01496-DLF
                         v.

 The Catholic University of America,

                              Defendant.


            JOINT STATUS REPORT AND MOTION TO STAY PROCEEDINGS

       Plaintiff Haley Gustavson (“Plaintiff”), individually and on behalf others similarly

situated, and The Catholic University of America (“Catholic”) (collectively, the “Parties”)

provide this joint status report pursuant to the Court’s March 15, 2024 Minute Order. The Parties

are continuing to work on finalizing settlement papers and jointly move this Court to continue

the stay in this case for another 30 days to allow plaintiff time to prepare a motion for

preliminary approval of the settlement. In support of their motion, the Parties state as follows:

       1.       On November 15, 2023, the Parties filed a Joint Motion to Stay Proceedings

asking the Court stay the case until March 8, 2024 to allow them to discuss settlement.

       2.       The Court granted the motion that same day.

       3.       On November 28, 2023, the Parties filed a joint motion for a mediation referral to

Judge Harvey.

       4.       The next day, the Court granted the motion and referred the case to Judge Harvey

for mediation until March 17, 2024. The Court directed the Parties to report to the Court on or

before March 17, 2024, as to the status of the mediation.
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       5.       On March 15, 2024, the Parties reported that they were actively drafting and

negotiating settlement papers and requested that the Court continue to stay the case.

       6.       In a March 15, 2024 Minute Order, the Court granted the Parties’ motion for a

continued stay and directed the Parties to report to the Court on or before April 14, 2024 (which

fell on a Sunday) regarding the status of settlement.

       7.       The Parties continue to draft and negotiate settlement papers.

       Accordingly, for the reasons provided above, and for good cause shown, the Parties

respectfully request that the Court continue the stay in this case for another 30 days to allow the

Parties time to enter into a written settlement agreement and plaintiff time to prepare a motion

for preliminary approval of the settlement, and grant them all such other relief as the Court

deems necessary and appropriate.

 Dated: April 15, 2024                               Respectfully submitted,

 By: /s/ Paul Doolittle                              By:   /s/ Scott L. Winkelman

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